                              NO. 07-11-00375-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
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MARCH 28, 2012
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                        MOISES E. SAMANIEGO, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;
                                       
          NO. 2011-430,099; HONORABLE JOHN J. "TREY" MCCLENDON, JUDGE
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.


                                       
                              MEMORANDUM OPINION
	Appellant, Moises E. Samaniego, entered a plea of guilty, without a recommendation as to punishment, to the indicted offense of theft of property of the value of less than $1,500 with two prior theft convictions.  Following a hearing on punishment before the trial court, appellant was sentenced to a term of 15 months confinement in a State Jail Facility.  Appellant gave notice of appeal.  We affirm.
Appellants attorney has filed an Anders brief and a motion to withdraw.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967).  In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial courts judgment.  Additionally, counsel has certified that he has provided appellant a copy of the Anders brief and motion to withdraw and appropriately advised appellant of his right to file a pro se response in this matter.  Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).  The Court has also advised appellant of his right to file a pro se response.  Appellant has not filed a response.  By his Anders brief, counsel reviewed all grounds that could possibly support an appeal, but concludes the appeal is frivolous.  We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We have found no such arguable grounds and agree with counsel that the appeal is frivolous.


Accordingly, counsels motion to withdraw is hereby granted and the trial courts judgment is affirmed.


								Mackey K. Hancock
                                                               Justice
Do not publish.  
